                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-129
                                                      )       Case No. 1:13-cr-83
 v.                                                   )
                                                      )       MATTICE / LEE
 MITCHELL HUGHES                                      )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count Second

 Superseding Indictment in case number 1:12-cr-129 and Count One of the one-count Indictment in

 case number 1:13-cr-83; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One of the Second Superseding Indictment in case number 1:12-cr-129, that is of

 conspiracy to distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams

 or more of a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and to Count One of the

 Indictment in case number 1:13-cr-83; (3) adjudicate Defendant guilty of the lesser included offense

 of the charge in Count One of the Second Superseding Indictment in case number 1:12-cr-129, that

 is of conspiracy to distribute five (5) grams or more of methamphetamine (actual) and fifty (50)

 grams or more of a mixture and substance containing a detectable amount of methamphetamine, a

 Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count One

 of the Indictment in case number 1:13-cr-83; (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this




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 matter [Docs. 440 and 17]. Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

 [Docs. 440 and 17] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Second

                Superseding Indictment in case number 1:12-cr-129 and Count 1 of the Indictment

                in case number 1:13-cr-83 is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser included offense of the charge in Count One

                of the Second Superseding Indictment in case number 1:12-cr-129, that is of

                conspiracy to distribute five (5) grams or more of methamphetamine (actual) and fifty

                (50) grams or more of a mixture and substance containing a detectable amount of

                methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

                §§ 846 and 841(b)(1)(B) and Count One of the Indictment in case number 1:13-cr-83

                is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

                in Count One of the Second Superseding Indictment in case number 1:12-cr-129, that

                is of conspiracy to distribute five (5) grams or more of methamphetamine (actual)

                and fifty (50) grams or more of a mixture and substance containing a detectable

                amount of methamphetamine, a Schedule II controlled substance, in violation of 21

                U.S.C. §§ 846 and 841(b)(1)(B) and Count One of the Indictment in case number

                1:13-cr-83.

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;


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             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, March 17, 2014 at 9:00 a.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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